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                            Exhibit 21
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    Ben Kline
    Co-Chair/Co-President at Warner Music Nashville
    Nashville, Tennessee, United States
    2K followers · 500+ connections

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            Warner Music Nashville

            University at Albany, SUNY




     About
     Senior-level executive in the music/entertainment industry.


     Specialties: Management, negotiation, consumer marketing, global branding, touring




     Activity
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     Congrats to my sister, Carole! And congrats to Nielsen!
     Liked by Ben Kline




     Attention passengers boarding all international ✈️ from Mexico City on
     Aeromexico...#trebel #music #latam #mexico 🕺🎶🎉
     Liked by Ben Kline




     I'm excited to share that I'm speaking at CES 2024 with an amazing panel consisting
     of Lindsey Slaby, Doug Martin, and Sophie Bambuck. My partner in…
     Liked by Ben Kline



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     Experience


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                  Warner Music Nashville
                  9 years 6 months




                   Co-Chair/Co-President
                   Jun 2022 - Present · 1 year 8 months
                   Nashville, Tennessee, United States


                   EVP/General Manager
                   Apr 2019 - May 2022 · 3 years 2 months
                   Nashville, TN
                   Oversee day to day label operations within radio promotion, streaming, marketing,
                   digital, international and touring departments for Warner Music Group's country
                   music division. Responsible for forecasting and achieving annual revenue and profit
                   goals for the division.

                   SVP, Global Revenue & Touring
                   Aug 2014 - Apr 2019 · 4 years 9 months
                   Nashville, TN


                   CEO & Founder
                   Brazenhead Entertainment
                   Mar 2012 - Jul 2014 · 2 years 5 months
                   Marketing and sales focused consulting group that works with record labels and artists
                   directly. Develops and implements strategies around digital marketing, D2C, touring,
                   social media and advertising to maximize exposure in the marketplace.


                   SVP, Global Sales & Marketing
                   INgrooves
                   Apr 2009 - Mar 2012 · 3 years
                   San Francisco, CA
                   Oversee all worldwide sales and marketing functions at INgrooves, an industry leading
                   digital media distribution and marketing company. Responsible for creating and
                   implementing global online marketing campaigns, sales goal strategies and third party
                   branding/marketing opportunities for our artists and record labels.



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                   EVP, Sales, Marketing and New Media
                   Universal Music Group
                   Nov 1997 - Feb 2009 · 11 years 4 months
                   Nashville, TN




     Education
                    University at Albany, SUNY
                    B.A. · Economics




     Recommendations received
                 Jon Vanhala
                 “BK is that rare MVP that raises all around him. His intellect, savvy, experience, and vision
                 always drives true value and real impact. His razor sharp creative wit is second to none
                 and that raises the bar for all engaged in the positive debate. My highest
                 recommendation and I'd be thrilled to work with BK again.”


                 David Zierler
                 “Ben is one of the most tenacious, results oriented people I have worked with and would
                 hope to work with him again in some capacity in the future. Ben is the consummate
                 professional and someone I would take on my team any day of the week.”


     2 people have recommended Ben




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     More activity by Ben




     Cheers to another great year working for Warner Music Group / Warner Music
     Nashville! From launching record-breaking albums to celebrating wins…
     Liked by Ben Kline




     I’m sure you already follow Jay and read Your Morning Coffee, but if you don’t now
     you know that you should. Excellent 2023 reviews/recaps/etc…
     Liked by Ben Kline




     Grammy Voting is open now! Please support this incredible Cast album!
     Liked by Ben Kline




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     I love this song, and album. I think you will too. I'm really proud of Abigail Garcia
     and the Monmouth University Blue Hawk Records students' magical…
     Liked by Ben Kline




     🌟 Closing out 2023 at FlyteVu with Gratitude 🌟 As the year draws to a close, we
     extend our heartfelt gratitude to our incredible team, dedicated…
     Liked by Ben Kline




     Congratulations to our new #ACMLEVelUp cohort!
     Liked by Ben Kline




     I’m honored to be continuing on the CMA Board of Directors and am excited to be
     welcoming some amazing new board members and officers!

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     Liked by Ben Kline                                      1412




     So pumped to announce BeatStars has partnered with the most advanced mobile
     recording studio application Voloco, by Resonant Cavity, LLC. Our mission…
     Liked by Ben Kline




     Variety's Hitsmakers - A list that I'm a bit stunned and completely honored to be
     included on. We work hard, but no one works harder than Bailey…
     Liked by Ben Kline




     Visiting the Rock & Roll Hall of Fame for PRINE ON PRINE is an honor... Getting to do
     it with Fiona Whelan Prine + Lyle Lovett defies words. John was…
     Liked by Ben Kline




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              See who you know in common


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              Contact Ben directly


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                Sr. Director, Streaming at Warner Music Nashville
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                VP, Artist Development at Warner Music Nashville
                Nashville, TN


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                China

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                Nashville, TN

                       Connect


                Stephanie Davenport
                Senior Director A&R at Warner Music Nashville
                Nashville, TN

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                Patrick Sabatini
                SVP, Legal and Business Affairs at Warner Music Nashville
                Nashville, TN

                       Connect


                Tim Foisset
                Head of Label Partnerships, Nashville at Spotify
                Nashville, TN

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                Kate Myers
                Music Artist Brand Partnerships at Warner Music Nashville
                Nashville, TN

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                Youngstown-Warren area

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